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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI


UNITED STATES OF AMERICA

V.                                                            CRIMINAL NO.        3:10CR163-SA

STARLET KIZER                                                                     DEFENDANT


                                     ORDER ON MOTION

       Starlet Kizer asks the Court to consider whether she is eligible for a sentence reduction

under Dean v. United States, 137 S. Ct. 1170, 197 L. Ed. 2d 490 (2017). Kizer was originally

sentenced to a one month term of incarceration for her predicate offense, bank robbery, a

seven-year term for the first 924(c) conviction, and a twenty-five year term for the second 924(c)

conviction.

       After her sentencing, the United States Supreme Court handed down an opinion which held

that Section 924(c) does not prevent a sentencing court from considering a mandatory minimum

imposed under that provision when calculating an appropriate sentence for the predicate offense.

Dean, 137 S. Ct. at 1176-77, 197 L. Ed. 2d 490. The Court instructed that courts are to consider

Section 3553(a) factors when imposing a sentence, and that the sentencing provisions permit a

court imposing a sentence on one count to consider sentences imposed on other counts. Id. at 1175,

197 L. Ed. 2d 490. Further, the 3553(a) factors may be considered when determining a prison

sentence for each individual offense in a multicount case. Id. at 1178, 197 L. Ed. 2d 490. Section

924(c) says nothing about the length of a non-924(c) sentence, nor about what information a court

may consider in determining that sentence. Indeed, according to the Supreme Court, “[n]othing in

that language prevents a district court from imposing a 30-year mandatory minimum sentence
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under § 924(c) and a one-day sentence for the predicate violent or drug trafficking crime,”

provided those terms run consecutively. Id. at 1177, 197 L. Ed. 2d 490.

       The Court, in imposing only a single month for the predicate offense, an unobjected to

downward variance, imposed a sentence that would be affirmed by the Dean Court. The § 3553(a)

factors were carefully considered, and Kizer received the benefit of a significant downward

variance for her predicate offense. Accordingly, no sentence reduction is available in this instance.

       SO ORDERED, this the 19th day of April, 2018.

                                                      __/s/ Sharion Aycock___________
                                                      U.S. DISTRICT JUDGE
